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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           EASTERN DIVISION

UNITED STATES OF AMERICA

v.                                                   CRIMINAL NO. 4:06cr28LS

DEVON JIM

       ORDER DISMISSING INDICTMENT AS TO DEVON JIM ONLY

      THE GOVERNMENT, having moved the Court pursuant to Rule 48(a), Fed.

R. Crim. Pro., in consequence of the defendant’s plea and sentencing to a criminal

information in Criminal Cause No. 4:06cr40LA, in which cause the defendant entered

a plea of guilty and was sentenced to the lesser-included offense of Manslaughter

(Involuntary) on March 2, 2007, now moves the Court to dismiss the Defendant,

Devon Jim, as a defendant in Criminal Cause No. 4:0628LS, to the charge of Murder

(2nd Degree). The motion is well taken, and is hereby sustained. It is, therefore,

                                   ORDERED
that the criminal indictment in Cause No. 4:06cr28LS is hereby dismissed without

prejudice as to defendant Devon Jim only.

      SO ORDERED, this the 2nd Day of March, 2007.


                                                     /s/ Tom S. Lee
                                                     TOM S. LEE
                                                     Senior United States District Judge

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